                                      Case 5:18-cv-02658-DSF-SP Document 24 Filed 07/22/19 Page 1 of 2 Page ID #:102

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                                 6    Attorneys for Plaintiff: JAMES RUTHERFORD

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                                 9                             UNITED STATES DISTRICT COURT

                                 10                           CENTRAL DISTRICT OF CALIFORNIA
                                 11

                                 12                                            Case No.: 5:18-cv-02658-DSF-SP
                                       JAMES RUTHERFORD, an
                                 13    individual;
                                                                               NOTICE OF MOTION FOR LEAVE TO
                                 14                                            AMEND PLAINTIFF’S COMPLAINT
                                                 Plaintiff,
                                 15
                                                                               DATE: August 26, 2019
                                 16    vs.
                                                                               TIME: 1:30 p.m.
                                 17                                            COURTROOM: 7D
                                 18    SAIGON DISH, a business of
                                                                               HON. DALE S. FISCHER
                                       unknown form; GREG RICE AND
                                 19
                                       JULIANNA RICE, AKA JULI
                                 20    RICE, Trustees of THE GREGG
                                       AND JULIANNA RICE 2017
                                 21
                                       REVOCABLE TRUST, DATED
                                 22    NOVEMBER 29, 2017; and DOES
                                       1-10, inclusive,
                                 23
20062 S.W. BIRCH ST., STE. 200
  NEWPORT BEACH, CA 92660




                                 24               Defendants.
     MANNING LAW, APC




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                                                  NOTICE OF MOTION FOR LEAVE TO AMEND COMPLAINT
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                                      Case 5:18-cv-02658-DSF-SP Document 24 Filed 07/22/19 Page 2 of 2 Page ID #:103


                                 1    TO ALL INTERESTED PARTIES AND THEIR ATTORNEYS OF RECORD:
                                 2          NOTICE IS HEREBY GIVEN that on August 26, 2019 at 1:30 P.M., or as

                                 3    soon thereafter as the matter may be heard, Plaintiff CARMEN JOHN PERRI

                                 4    (“Plaintiff”) will move this Court located at First Street Courthouse, 350 West 1st

                                 5    Street, Courtroom 7D, Los Angeles, California, for leave to file a First Amended

                                 6    Complaint. Plaintiff moves this Court for an order under Rule 15(a) of the Federal

                                 7    Rules of Civil Procedure granting Plaintiff leave to file the First Amended Complaint

                                 8    in the form shown in the copy of the proposed First Amended Complaint that is
                                 9    attached to the Declaration of David M. Fitzgerald as Exhibit 1.
                                 10         This motion is made following the attempt at conference of counsel pursuant to
                                 11   Local Rule 7-3 which took place on July 16, 2019. This motion is based upon this
                                 12   Notice, the attached Memorandum of Points and Authorities, any attached
                                 13   declarations, and on such other evidence attached or as may be presented at the hearing
                                 14   of this motion.
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                                 16
                                      Dated: July 22, 2019         MANNING LAW, APC
                                 17

                                 18                                   By: /s/ Joseph R. Manning, Jr., Esq.
                                 19                                      Joseph R. Manning Jr., Esq.
                                                                          Michael J. Manning, Esq.
                                 20                                       Craig G. Côté, Esq.
                                 21                                       Attorneys for Plaintiff
                                 22

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                                                   NOTICE OF MOTION FOR LEAVE TO AMEND COMPLAINT
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